  Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 1 of 37 PAGEID #: 967




                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

United States of America,

                                                 Case No. 2:19-cr-202
      v.
                                                 Judge Michael H. Watson
Thomas J. Romano,

               Defendants.


                                Final Jury Instructions

                                 1.01 INTRODUCTION

      Members of the jury, now it is time for me to instruct you about the law that

you must follow in deciding this case. I will start by explaining your duties and

the general rules that apply in every criminal case. Then I will explain the

elements, or parts, of the crimes that the defendant is accused of committing.

Then I will explain some rules that you must use in evaluating particular

testimony and evidence. And last, I will explain the rules that you must follow

during your deliberations in the jury room, and the possible verdicts that you may

return.

          Please listen very carefully to everything I say.
  Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 2 of 37 PAGEID #: 968




                               1.02 JURORS’ DUTIES

      You have two main duties as jurors. The first one is to decide what the

facts are from the evidence that you saw and heard here in court. Deciding what

the facts are is your job, not mine, and nothing that I have said or done during

this trial was meant to influence your decision about the facts in any way.

      Your second duty is to take the law that I give you, apply it to the facts, and

decide if the government has proved the defendant guilty beyond a reasonable

doubt. It is my job to instruct you about the law, and you are bound by the oath

that you took at the beginning of the trial to follow the instructions that I give you,

even if you personally disagree with them. This includes the instructions that I

gave you before and during the trial, and these instructions. All the instructions

are important, and you should consider them together as a whole.

      The lawyers have talked about the law during their arguments. But if what

they said is different from what I say, you must follow what I say. What I say

about the law controls.

      Perform these duties fairly. Do not let any bias, sympathy or prejudice that

you may feel toward one side or the other influence your decision in any way.




Case No. 2:19-cr-202
  Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 3 of 37 PAGEID #: 969




1.03 PRESUMPTION OF INNOCENCE, BURDEN OF PROOF, REASONABLE
                           DOUBT

         As you know, the defendant has pleaded not guilty to the crimes charged

in the Superseding Indictment. The Superseding Indictment is not any evidence

at all of guilt. It is just the formal way that the government tells the defendant

what crime he is accused of committing. It does not even raise any suspicion of

guilt.

         Instead, the defendant starts the trial with a clean slate, with no evidence

at all against him, and the law presumes that he is innocent. This presumption of

innocence stays with him unless the government presents evidence here in court

that overcomes the presumption, and convinces you beyond a reasonable doubt

that he is guilty.

         This means that the defendant has no obligation to present any evidence

at all, or to prove to you in any way that he is innocent. It is up to the government

to prove that he is guilty, and this burden stays on the government from start to

finish. You must find the defendant not guilty unless the government convinces

you beyond a reasonable doubt that he is guilty.

         The government must prove every element of the crimes charged beyond

a reasonable doubt. Proof beyond a reasonable doubt does not mean proof

beyond all possible doubt. Possible doubts or doubts based purely on

speculation are not reasonable doubts. A reasonable doubt is a doubt based on




Case No. 2:19-cr-202
  Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 4 of 37 PAGEID #: 970




reason and common sense. It may arise from the evidence, the lack of evidence,

or the nature of the evidence.

      Proof beyond a reasonable doubt means proof which is so convincing that

you would not hesitate to rely and act on it in making the most important

decisions in your own lives. If you are convinced that the government has proved

the defendant guilty beyond a reasonable doubt, say so by returning a guilty

verdict. If you are not convinced, say so by returning a not guilty verdict.




Case No. 2:19-cr-202
  Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 5 of 37 PAGEID #: 971




                            1.04 EVIDENCE DEFINED

       You must make your decision based only on the evidence that you saw

and heard here in court. Do not let rumors, suspicions, or anything else that you

may have seen or heard outside of court influence your decision in any way.

      The evidence in this case includes only what the witnesses said while they

were testifying under oath; the exhibits that I allowed into evidence; the

stipulations that the lawyers agreed to; and the facts that I have judicially noticed.

      Nothing else is evidence. The lawyers’ statements and arguments are not

evidence. Their questions and objections are not evidence. My legal rulings are

not evidence. And my comments and questions are not evidence.

      During the trial, I did not let you hear the answers to some of the questions

that the lawyers asked. I also ruled that you could not see some of the exhibits

that the lawyers wanted you to see. And sometimes I ordered you to disregard

things that you saw or heard, or I struck things from the record. You must

completely ignore all of those things. Do not even think about them. Do not

speculate about what a witness might have said or what an exhibit might have

shown. Those things are not evidence, and you are bound by your oath not to let

them influence your decision in any way.

      Make your decision based only on the evidence, as I have defined it here,

and nothing else.




Case No. 2:19-cr-202
  Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 6 of 37 PAGEID #: 972




                     1.05 CONSIDERATION OF EVIDENCE

       You are to consider only the evidence admitted into the record in the case.

You should use your common sense in weighing the evidence. Consider the

evidence in light of your everyday experience with people and events, and give it

whatever weight you believe it deserves. If your experience tells you that certain

evidence reasonably leads to a conclusion, you are free to reach that conclusion.

      In our lives, we often look at one fact and conclude from it that another fact

exists. In law we call this an “inference.” A jury is allowed to make reasonable

inferences, unless otherwise instructed. Any inferences you make must be

reasonable and must be based on the evidence in the case.

      The existence of an inference does not change or shift the burden of proof

from the government to the defendant.




Case No. 2:19-cr-202
  Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 7 of 37 PAGEID #: 973




                1.06 DIRECT AND CIRCUMSTANTIAL EVIDENCE

       Now, some of you may have heard the terms “direct evidence” and

“circumstantial evidence.”

      Direct evidence is simply evidence like the testimony of an eyewitness

which, if you believe it, directly proves a fact. If a witness testified that he saw it

raining outside, and you believed him, that would be direct evidence that it was

raining.

      Circumstantial evidence is simply a chain of circumstances that indirectly

proves a fact. If someone walked into the courtroom wearing a raincoat covered

with drops of water and carrying a wet umbrella, that would be circumstantial

evidence from which you could conclude that it was raining.

      It is your job to decide how much weight to give the direct and

circumstantial evidence. The law makes no distinction between the weight that

you should give to either one or say that one is any better evidence than the

other. You should consider all the evidence, both direct and circumstantial, and

give it whatever weight you believe it deserves.




Case No. 2:19-cr-202
  Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 8 of 37 PAGEID #: 974




                       1.07 CREDIBILITY OF WITNESSES

       Another part of your job as jurors is to decide how credible or believable

each witness was. This is your job, not mine. It is up to you to decide if a

witness’s testimony was believable, and how much weight you think it deserves.

You are free to believe everything that a witness said, or only part of it, or none of

it at all. But you should act reasonably and carefully in making these decisions.

      Let me suggest some things for you to consider in evaluating each

witness’s testimony.

      Ask yourself if the witness was able to clearly see or hear the events.

Sometimes even an honest witness may not have been able to see or hear what

was happening and may make a mistake.

      Ask yourself how good the witness’s memory seemed to be. Did the

witness seem able to accurately remember what happened?

      Ask yourself if there was anything else that may have interfered with the

witness’s ability to perceive or remember the events.

      Ask yourself how the witness acted while testifying. Did the witness

appear honest? Or did the witness appear to be lying?

      Ask yourself if the witness had any relationship to the government or the

defendant, or anything to gain or lose from the case that might influence the

witness’s testimony. Ask yourself if the witness had any bias, or prejudice, or

reason for testifying that might cause the witness to lie or to slant the testimony in

favor of one side or the other.

Case No. 2:19-cr-202
  Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 9 of 37 PAGEID #: 975




      Ask yourself if the witness testified inconsistently while on the witness

stand, or if the witness said or did something (or failed to say or do something) at

any other time that is inconsistent with what the witness said while testifying. If

you believe that the witness was inconsistent, ask yourself if this makes the

witness’s testimony less believable. Sometimes it may; other times it may not.

Consider whether the inconsistency was about something important, or about

some unimportant detail. Ask yourself if it seemed like an innocent mistake, or if

it seemed deliberate.

      And ask yourself how believable the witness’s testimony was in light of all

the other evidence. Was the witness’s testimony supported or contradicted by

other evidence that you found believable? If you believe that a witness’s

testimony was contradicted by other evidence, remember that people sometimes

forget things, and that even two honest people who witness the same event may

not describe it exactly the same way.

      These are only some of the things that you may consider in deciding how

believable each witness was. You may also consider other things that you think

shed some light on the witness’s believability. Use your common sense and your

everyday experience in dealing with other people. And then decide what

testimony you believe, and how much weight you think it deserves.




Case No. 2:19-cr-202
 Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 10 of 37 PAGEID #: 976




                       1.08 NUMBER OF WITNESSES

      One more point about the witnesses. Sometimes jurors wonder if the

number of witnesses who testified makes any difference.

      Do not make any decisions based only on the number of witnesses who

testified. What is more important is how believable the witnesses were and how

much weight you think their testimony deserves. Concentrate on that, not the

numbers.




Case No. 2:19-cr-202
  Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 11 of 37 PAGEID #: 977




                           1.09 LAWYERS’ OBJECTIONS

         There is one more general subject that I want to talk to you about before I

begin explaining the elements of the crime charged.

         The lawyers for both sides objected to some of the things that were said or

done during the trial. Do not hold that against either side. The lawyers have a

duty to object whenever they think that something is not permitted by the rules of

evidence. Those rules are designed to make sure that both sides receive a fair

trial.

         And do not interpret my rulings on their objections as any indication of how

I think the case should be decided. My rulings were based on the rules of

evidence, not on how I feel about the case. Remember that your decision must

be based only on the evidence that you saw and heard here in court.




Case No. 2:19-cr-202
 Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 12 of 37 PAGEID #: 978




                              2.01 INTRODUCTION

       That concludes the part of my instructions explaining your duties and the

general rules that apply in every criminal case. In a moment, I will explain the

elements of the crime that the defendant is accused of committing.

      But before I do that, I want to emphasize that the defendant is only on trial

for the particular crimes charged in the superseding indictment. Your job is

limited to deciding whether the government has proved the crimes charged.




Case No. 2:19-cr-202
 Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 13 of 37 PAGEID #: 979




  2.01A SEPARATE CONSIDERATION—SINGLE DEFENDANT CHARGED
                    WITH MULTIPLE CRIMES

       The defendant has been charged with several crimes. The number of

charges is no evidence of guilt, and this should not influence your decision in any

way. It is your duty to separately consider the evidence that relates to each

charge and to return a separate verdict for each one. For each charge, you must

decide whether the government has presented proof beyond a reasonable doubt

that the defendant is guilty of that particular charge.

      Your decision on one charge, whether it is guilty or not guilty, should not

influence your decision on any of the other charges.




Case No. 2:19-cr-202
 Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 14 of 37 PAGEID #: 980




                       2.02 DEFINITION OF THE CRIME

      The defendant is charged with the crime of distributing oxycodone,

oxymorphone, hydromorphone, methadone, morphine, alprazolam, clonazepam,

diazepam, and carisoprodol, as detailed in Counts 1 – 34. Oxycodone,

oxymorphone, hydromorphone, methadone, morphine, alprazolam, clonazepam,

diazepam, and carisoprodol are controlled substances as defined by the

Controlled Substances Act.

      For you to find the defendant guilty of this crime, you must find that the

government has proved each and every one of the following elements beyond a

reasonable doubt:

   • The defendant knowingly or intentionally distributed oxycodone,

      oxymorphone, hydromorphone, methadone, morphine, alprazolam,

      clonazepam, diazepam, and/or carisoprodol;

   • The defendant knew at the time of distribution that the substance was a

      controlled substance; and

   • The defendant knowingly or intentionally distributed the substance without

      a legitimate medical purpose outside the usual course of professional

      practice.

Now I will give you more detailed instructions on some of these terms.

   • The term “distribute” means the delivery or transfer of a controlled

      substance. This term also includes the writing or issuing of a prescription.



Case No. 2:19-cr-202
 Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 15 of 37 PAGEID #: 981




   • The terms “legitimate medical purpose” and “usual course of professional

      practice for a legitimate medical purpose” mean acting in accordance with

      a standard of medical practice generally recognized and accepted in the

      State of Ohio. You have heard testimony about what constitutes the usual

      course of professional practice and legitimate medical purpose for the

      prescription of controlled substances, and you are to weigh that evidence

      the same way that you would weigh any other evidence in this case. In

      considering whether a defendant issued a prescription with a legitimate

      medical purpose in the usual course of professional practice, you may

      consider all of the defendant’s actions and the circumstances surrounding

      them.

      If you find that the government has proved beyond a reasonable doubt each

of the elements of the offense charged in the count you are considering as set

out in these instructions, then you must return a verdict of guilty for that count. If

you find that the government has not proved beyond a reasonable doubt any one

or more of the elements of the offense charged in the count you are considering

as set out in these instructions, then you must return a verdict of not guilty as to

that count.




Case No. 2:19-cr-202
 Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 16 of 37 PAGEID #: 982




                             2.04 ON OR ABOUT

      Next, I want to say a word about the dates mentioned in the superseding

indictment.

      The superseding indictment charges that the crimes happened “on or

about” various dates. The government does not have to prove that the crimes

happened on those exact dates. But the government must prove that the crimes

happened reasonably close to those dates.




Case No. 2:19-cr-202
 Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 17 of 37 PAGEID #: 983




                  2.08 INFERRING REQUIRED MENTAL STATE

        Next, I want to explain something about proving a defendant’s state of

mind.

        Ordinarily, there is no way that a defendant’s state of mind can be proved

directly, because no one can read another person’s mind and tell what that

person is thinking.

        But a defendant’s state of mind can be proved indirectly from the

surrounding circumstances. This includes things like what the defendant said,

what the defendant did, how the defendant acted, and any other facts or

circumstances in evidence that show what was in the defendant’s mind.

        You may also consider the natural and probable results of any acts that the

defendant knowingly did or did not do, and whether it is reasonable to conclude

that the defendant intended those results. This, of course, is all for you to decide.

        Intent and motive should never be confused. Motive is what prompts a

person to act or fail to act. Intent refers to the state of mind with which the act is

done or failed to be done. The motive of the accused is immaterial and need not

be proved by the government. Rather, evidence regarding motive is relevant only

insofar as it sheds light on the intent of the accused.




Case No. 2:19-cr-202
 Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 18 of 37 PAGEID #: 984




                        2.09 DELIBERATE IGNORANCE

      Next, I want to explain something about proving a defendant’s knowledge.

      No one can avoid responsibility for a crime by deliberately ignoring the

obvious. If you are convinced that the defendant deliberately ignored a high

probability that he was prescribing controlled substances outside the usual

course of professional practice and without a legitimate medical purpose, then

you may find that he knew that he was prescribing controlled substances outside

the usual course of professional practice and without a legitimate medical

purpose.

      But to find this, you must be convinced beyond a reasonable doubt that the

defendant was aware of a high probability that he was prescribing controlled

substances outside the usual course of professional practice and without a

legitimate medical purpose and that the defendant deliberately closed his eyes to

what was obvious. Carelessness, or negligence, or foolishness on his part is not

the same as knowledge and is not enough to convict. This of course, is all for you

to decide.




Case No. 2:19-cr-202
 Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 19 of 37 PAGEID #: 985




                              7.01 INTRODUCTION

      That concludes the part of my instructions explaining the elements of the

crime. Next, I will explain some rules that you must use in considering some of

the testimony and evidence.




Case No. 2:19-cr-202
 Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 20 of 37 PAGEID #: 986




                       7.02B DEFENDANT’S TESTIMONY

      You have heard the defendant testify. Earlier, I talked to you about the

“credibility” or the “believability” of the witnesses. And I suggested some things

for you to consider in evaluating each witness’s testimony.

      You should consider those same things in evaluating the defendant’s

testimony.




Case No. 2:19-cr-202
 Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 21 of 37 PAGEID #: 987




                       7.20 STATEMENT BY DEFENDANT

      You have heard evidence that the defendant made a statement in which

the government claims he admitted certain facts. It is for you to decide whether

the defendant made that statement, and if so, how much weight it deserves. In

making these decisions, you should consider all of the evidence about the

statement, including the circumstances under which the defendant allegedly

made it.

      You may not convict the defendant solely upon his own uncorroborated

statement or admission.




Case No. 2:19-cr-202
 Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 22 of 37 PAGEID #: 988




       7.03A WITNESS TESTIFYING TO BOTH FACTS AND OPINIONS

      You have heard the testimony of some individuals who testified as to both

facts and opinions, and other individuals who testified as to only opinion.

      Each of these types of testimony should be given the proper weight.

      As to testimony on facts, consider the factors discussed earlier in these

instructions for weighing the credibility of witnesses.

      As to testimony on opinions, you do not have to accept the opinions.

      When scientific, technical, or other specialized knowledge might be helpful,

a person who has special training or experience in that field is allowed to state an

opinion about the matter. In deciding how much weight to give it, you should

consider the witness’ qualifications and how each of those witnesses reached

their conclusions. Also consider the other factors discussed in these instructions

for weighing the credibility of witnesses. However, opinion medical testimony is

not necessary to reach a verdict in this case.

      Remember that you alone decide how much of a witness’s testimony to

believe and how much weight it deserves.




Case No. 2:19-cr-202
 Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 23 of 37 PAGEID #: 989




Case No. 2:19-cr-202
 Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 24 of 37 PAGEID #: 990




7.12 SUMMARIES AND OTHER MATERIALS NOT ADMITTED IN EVIDENCE

      During the trial you have seen counsel use summaries, charts, drawings,

calculations, or similar material which were offered to assist in the presentation

and understanding of the evidence. Some of these summaries, charts, etc. have

been entered into evidence; some have not. In both cases, you must remember

that these summary materials are not themselves evidence of the information

they summarize, and are only as valid and reliable as the underlying material

they summarize.




Case No. 2:19-cr-202
 Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 25 of 37 PAGEID #: 991




                              7.21 STIPULATIONS

      The government and the defendant have agreed, or stipulated, to certain

facts. Therefore, you must accept the following stipulated facts as proved:

         1. At all relevant times, Defendant was a medical doctor in the State of

            Ohio, licensed under State Medical Board of Ohio Medical License

            number 35.047291.

         2. Defendant owned and operated a medical practice under his name,

            located at 205 North 5th Street, Martin’s Ferry, Ohio 43935, in the

            Southern District of Ohio.

         3. Defendant was registered with federal and state authorities to

            prescribe Schedule II-V controlled substances at his medical

            practice.

         4. The Controlled Substances Act (“CSA”) governed the manufacture,

            distribution, and dispensing of controlled substances in the United

            States.

         5. Under the CSA, the United States Drug Enforcement Administration

            (“DEA”) regulated certain pharmaceutical drugs designated as

            “controlled substances” because of their potential for abuse or

            dependence, their accepted medical use, and their accepted safety

            for use under medical supervision.

         6. The DEA issued registration numbers to qualifying practitioners,

            including physicians, which permitted those practitioners to dispense

Case No. 2:19-cr-202
 Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 26 of 37 PAGEID #: 992




           Schedule II, III, IV, and V controlled substances consistent with the

           terms of that registration.

        7. Oxycodone, oxycontin, oxymorphone, hydromorphone, and

           methadone are Schedule II controlled substances. Alprazolam,

           clonazepam, diazepam, and carisoprodol are Schedule IV controlled

           substances.

        8. The Code of Federal Regulations governed the issuance of

           prescriptions and provided, among other things, that a prescription

           for a controlled substance “must be issued for a legitimate medical

           purpose by an individual practitioner acting in the usual course of his

           professional practice.” The Code of Federal Regulations further

           directed that “[a]n order purporting to be a prescription issued not in

           the usual course of professional treatment . . . is not a prescription

           within the meaning and intent of [the CSA] and the person knowingly

           filling such a purported prescription, as well as the person issuing it,

           shall be subject to the penalties provided for violations of the

           provisions of law relating to controlled substances.”

        9. The Defendant issued prescriptions for the controlled substances to

           the patients set forth in Counts One through Thirty-Four of the

           Superseding Indictment.




Case No. 2:19-cr-202
 Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 27 of 37 PAGEID #: 993




         10. During all times relevant to this matter, Dr. Thomas Romano and his

            medical office did not accept insurance and his patients were

            required to pay Dr. Romano via cash, check, money order, or a letter

            of protection from an attorney.

     .




Case No. 2:19-cr-202
 Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 28 of 37 PAGEID #: 994




                               8.01 INTRODUCTION

      That concludes the part of my instructions explaining the rules for

considering some of the testimony and evidence. Now let me finish up by

explaining some things about your deliberations in the jury room and your

possible verdicts.

      The first thing that you should do in the jury room is choose someone to be

your foreperson. This person will help to guide your discussions and will speak

for you here in court.

      Once you start deliberating, do not talk to the jury officer, or to me, or to

anyone else except each other about the case. If you have any questions or

messages, you must write them down on a piece of paper, sign them, and then

give them to the jury officer. The officer will give them to me, and I will respond

as soon as I can. I may have to talk to the lawyers about what you have asked,

so it may take me some time to get back to you. Any questions or messages

normally should be sent to me through your foreperson.

      If you want to see any of the exhibits that were admitted in evidence, you

may send me a message, and those exhibits will be provided to you.

      One more thing about messages. Do not ever write down or tell anyone,

including me, how you stand on your votes. For example, do not write down or

tell anyone that you are split 6-6, or 8-4, or whatever your vote happens to be.

That should stay secret until you are finished.



Case No. 2:19-cr-202
 Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 29 of 37 PAGEID #: 995




     8.02 EXPERIMENTS, RESEARCH, INVESTIGATION AND OUTSIDE
                        COMMUNICATIONS

      Remember that you must make your decision based only on the evidence

that you saw and heard here in court.

      During your deliberations, you must not communicate with or provide any

information to anyone by any means about this case. You may not use any

electronic device or media or application unless specifically instructed to do so by

this court, such as a telephone, cell phone, smart phone, or computer, the

Internet, any Internet service, or any text or instant messaging service, any

Internet chat room, blog, or website such as Facebook, LinkedIn, YouTube,

Twitter, Instagram, WhatsApp, Snapchat or other similar electronic service, to

communicate to anyone any information about this case or to conduct any

research about this case until I accept your verdict. In other words, you cannot

talk to anyone on the phone, correspond with anyone, or electronically

communicate with anyone about this case. You can only discuss the case in the

jury room with your fellow jurors during deliberations. You must inform me as

soon as you become aware of another juror’s violation of these instructions.

      You may not use these electronic means to investigate or communicate

about the case because it is important that you decide this case based solely on

the evidence presented in this courtroom. Information on the Internet or

available through social media might be wrong, incomplete, or inaccurate. You

are only permitted to discuss the case with your fellow jurors during deliberations


Case No. 2:19-cr-202
 Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 30 of 37 PAGEID #: 996




because they have seen and heard the same evidence you have. In our judicial

system, it is important that you are not influenced by anything or anyone outside

of this courtroom. Otherwise, your decision may be based on information known

only by you and not your fellow jurors or the parties in the case. This would

unfairly and adversely impact the judicial process. A juror who violates these

restrictions jeopardizes the fairness of these proceedings, and a mistrial could

result, which would require the entire trial process to start over.




Case No. 2:19-cr-202
 Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 31 of 37 PAGEID #: 997




                             8.03 UNANIMOUS VERDICT

         Your verdict, whether it is guilty or not guilty, must be unanimous as to

each count.

         To find the defendant guilty of a particular count, every one of you must

agree that the government has overcome the presumption of innocence with

evidence that proves his guilt beyond a reasonable doubt.

         To find him not guilty of a particular count, every one of you must agree

that the government has failed to convince you beyond a reasonable doubt.

         Either way, guilty or not guilty, your verdict must be unanimous as to each

count.




Case No. 2:19-cr-202
 Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 32 of 37 PAGEID #: 998




                 8.03B UNANIMITY NOT REQUIRED – MEANS

      One more point about the requirement that your verdict must be

unanimous. Several counts of the superseding indictment accuse the defendant

of committing the charged crimes in more than one possible way. Specifically,

several counts allege that the defendant committed the crime by distributing one

or more of several controlled substances.

      The government does not have to prove all of these for you to return a

guilty verdict on this charge. Proof beyond a reasonable doubt of any one of

these ways is enough. In order to return a guilty verdict, all twelve of you must

agree that at least one of these has been proved; however, all of you need not

agree that the same one has been proved.




Case No. 2:19-cr-202
 Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 33 of 37 PAGEID #: 999




                           8.04 DUTY TO DELIBERATE

      Now that all the evidence is in and the arguments are completed, you are

free to talk about the case in the jury room. In fact, it is your duty to talk with

each other about the evidence and to make every reasonable effort you can to

reach unanimous agreement. Talk with each other, listen carefully and

respectfully to each other’s views, and keep an open mind as you listen to what

your fellow jurors have to say. Try your best to work out your differences. Do not

hesitate to change your mind if you are convinced that other jurors are right and

that your original position was wrong.

      But do not ever change your mind just because other jurors see things

differently or just to get the case over with. In the end, your vote must be exactly

that—your own vote. It is important for you to reach unanimous agreement, but

only if you can do so honestly and in good conscience.

      No one will be allowed to hear your discussions in the jury room, and no

record will be made of what you say. So, you should all feel free to speak your

minds.

      Listen carefully to what the other jurors have to say and then decide for

yourself if the government has proved the defendant guilty beyond a reasonable

doubt.




Case No. 2:19-cr-202
Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 34 of 37 PAGEID #: 1000




                              8.05 PUNISHMENT

      If you decide that the government has proved the defendant guilty, then it

will be my job to decide what the appropriate punishment should be.

      Deciding what the punishment should be is my job, not yours. It would

violate your oaths as jurors to even consider the possible punishment in deciding

your verdict.

      Your job is to look at the evidence and decide if the government has

proved the defendant guilty beyond a reasonable doubt.




Case No. 2:19-cr-202
 Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 35 of 37 PAGEID #: 1001




                               8.06 VERDICT FORM

      I have prepared verdict forms that you should use to record your verdict.

      If you decide that the government has proved the charge against the

defendant beyond a reasonable doubt, say so by having your foreperson mark

the appropriate place on the form. For many of the counts, if you find the

defendant guilty, you will also have to answer a few additional questions—known

as interrogatories—which I will go over with you shortly.

      If you decide that the government has not proved the charge against him

beyond a reasonable doubt, say so by having your foreperson mark the

appropriate place on the form. Each of you should then sign the form, put the

date on it, and return it to me. Do this for each of the thirty-four verdict forms.




Case No. 2:19-cr-202
Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 36 of 37 PAGEID #: 1002




                              8.10 JUROR NOTES

      Remember that if you elected to take notes during the trial, your notes

should be used only as memory aids. You should not give your notes greater

weight than your independent recollection of the evidence. You should rely upon

your own independent recollection of the evidence or lack of evidence, and you

should not be unduly influenced by the notes of other jurors. Notes are not

entitled to any more weight than the memory or impression of each juror.

      Whether you took notes or not, each of you must form and express your

own opinion as to the facts of the case.




Case No. 2:19-cr-202
Case: 2:19-cr-00202-MHW Doc #: 89 Filed: 08/12/22 Page: 37 of 37 PAGEID #: 1003




                         8.09 COURT HAS NO OPINION

      Let me finish up by repeating something that I said to you earlier. Nothing

that I have said or done during this trial was meant to influence your decision in

any way. You decide for yourselves if the government has proved the defendant

guilty beyond a reasonable doubt.




Case No. 2:19-cr-202
